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Plaintiff, ease No. 01*CR-20235-01 W~ D -3¢' ‘“-l~”'*~'“"i°d*$

VS.
JOHN ALLEN LATON,

Defendant.

ORDER GRANT|NG DEFENDANT’S MOT|ON TO
DECLARE DEFENDANT |NDlGENT FOR PURPOSES OF APPEAL

On April 19, 2005, the defendant filed a “l\/lotion to Deolare the Defendant
Indigent for Purposes of Appeal.” Upon review of the motion and affidavit, the court Will
grant the motion. Therefore,

|T |S HEREBV ORDERED that the defendant’s motion is GRANTED declaring

the defendant indigent for all appellate purposes.

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ROBERT H. CLELAND
DATED: UN|TED STATES D|STR|CT JUDGE

31`0€'

Tnis doo'lment entered on the docket Weet ln compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:0]-CR-20235 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Jennifer lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Robert Cleland
US DISTRICT COURT

